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                   Case 3:23-cv-01148-CRB Document 15-8 Filed 06/07/23 Page 2 of 2


Levad, Andrew M.

From:                   Sikes III, George W.
Sent:                   Friday, March 17, 2023 1:19 PM
To:                     Gosewehr, Katie; Patton, Madeleine T.; Court Services
Cc:                     Levad, Andrew M.; Sikes III, George W.
Subject:                RE: [0872056-00009] Trader Joe's Company v. DesertCart Trading FZE et al (Doc# 5, N.D. Cal. 3:23-
                        cv-01148)


See below additional update and please advise:

ThisisthereportfromourDEserver.Asperthemanager,RahulSwaminathandoesnotcomeintotheofficeandlives
outofstate.
Pleaseadvise,thanks!


O’Melveny
George W. Sikes, III
Managing Clerk
gsikes@omm.com
O: +1-212-408-2423

O’Melveny & Myers LLP
Times Square Tower
7 Times Square
New York, NY 10036
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The American Lawyer: Ranked #1 on the A-List, including #1 for Associate Satisfaction
Vault: Five straight years in the Top 3 for Best Law Firm to Work For, Overall Diversity, and Best Summer Associate Program


From:SikesIII,GeorgeW.<gsikes@omm.com>
Sent:Friday,March17,20231:48PM
To:Gosewehr,Katie<kgosewehr@omm.com>;Patton,MadeleineT.<mpatton@omm.com>;CourtServices
<ommsvc2@OMM.com>
Cc:Levad,AndrewM.<alevad@omm.com>;SikesIII,GeorgeW.<gsikes@omm.com>
Subject:RE:[0872056Ͳ00009]TraderJoe'sCompanyv.DesertCartTradingFZEetal(Doc#5,N.D.Cal.3:23ͲcvͲ01148)

Just received the following update:

Piffertwasservedtoday.OncewehearbackfromourserverinDE,wewilladvise.

O’Melveny
George W. Sikes, III
Managing Clerk
gsikes@omm.com
O: +1-212-408-2423

O’Melveny & Myers LLP
Times Square Tower

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